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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA                         FILED
                                     INDIANAPOLIS DIVISION                     2:27 pm, May 29, 2024
                                                                                U.S. DISTRICT COURT
 UNITED STATES OF AMERICA,                         )                         SOUTHERN DISTRICT OF INDIANA
                                                                                Roger A.G. Sharpe, Clerk
                                                   )
                           Plaintiff,              )
                                                   )
                      v.                           )       CAUSE NO.         1:24-cr-93-JPH-KMB
                                                   )
 NATHANIEL WILLS,                                  )
                                                   )
                           Defendant.              )

                                          INFORMATION

        The United States Attorney charges that:

                                         General Allegations

        At times material to this Information:

        1.      Company A is a retail flooring and installation services business located in the

 Southern District of Indiana.

        2.      NATHANIEL WILLS (“WILLS”) resided in Anderson, Indiana, which is located

 in the Southern District of Indiana.

        3.      WILLS maintained at least two personal bank accounts at Huntington Bank,

 including: (1) a personal checking account ending in 0246; and (2) a personal savings account

 ending in 8766 (together, “WILLS’ Personal Bank Accounts”). Huntington Bank is

 headquartered in Columbus, Ohio and maintains its servers in Ohio.

        4.      WILLS further maintained at least three personal credit cards with Chase Bank,

 including those ending in account numbers 2112, 9531, and 3703 (together, “WILLS’ Personal

 Credit Card Accounts”). Chase Bank is headquartered in New York, New York and maintains


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 its servers outside of Indiana.

        5.      WILLS further maintained a personal PayPal account (“WILLS’ PayPal

 Account”).

        6.      Company A maintained two corporate bank accounts at First Merchants Bank: (1)

 a general operating account ending in 0238 (“First Merchants Operating Account”); and (2) a

 payroll account ending in 0262 (“First Merchants Payroll Account”) (collectively, “First

 Merchants Accounts”). First Merchants Bank is a regional bank headquartered in Muncie,

 Indiana and maintains its servers in Indiana.

        7.      Company A further maintained a line of credit at First Merchants Bank.

        8.      On or about March 19, 2019, there was a PayPal account opened in the name of

 Company A (“Company A’s PayPal Account”).

        9.      Company A had a Citibank corporate credit card account (“Company A Citibank

 Credit Card Account”). Multiple Company A employees, including WILLS, had employee

 credit cards that were linked to the Company A Citibank Credit Card Account (“Company A

 Citibank Employee Credit Card”). Employees were authorized to use their Company A

 Citibank Employee Credit Card for certain legitimate business expenses only.

        10.     Transfers of funds between WILLS and Company A affected interstate

 commerce.

        11.     Beginning on or around March 7, 2016, to on or about May 1, 2018, WILLS was

 an accountant for Company A. From on or about May 1, 2018, to in or around February 2022,

 WILLS was Director of Administration for Company A. In these roles, WILLS was entrusted

 with performing business accounting functions at Company A, which included, among other

 things, writing and signing checks, making electronic payments, performing reconciliations

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 between Company A’s accounting and banking records, and maintaining Company A’s

 accounting ledgers.

        12.     Company A collected, stored, and managed all of Company A’s data from its

 business transactions, which included Company A’s orders, purchase orders, and inventory

 records, as well as its scheduling, payroll, and accounting records, on a computer program called

 Retail Flooring Management System (“RFMS”). As an accountant and Director of

 Administration, WILLS had access to RFMS and was authorized by Company A to manually

 enter information into RFMS that accurately reflected the company’s legitimate business and

 payroll transactions.

        13.     WILLS further had access to Company A’s First Merchants bank accounts and

 was authorized to make ACH transfers and approve electronic payments from the accounts for

 legitimate business expenses only.

                                      The Scheme to Defraud

        14.     Beginning in or about August 2020, and continuing until at least in or about

 February 2022, WILLS devised and executed a scheme to defraud Company A by means of

 materially false and fraudulent pretenses, representations, and promises, and by concealment of

 material facts, as further described below (“Scheme”).

        15.     The objective of the Scheme was for WILLS to enrich himself by obtaining

 money belonging to Company A for his own personal use.

        16.     As part of the Scheme, WILLS abused his position of trust as an accountant and

 Director of Administration for Company A by transferring funds to which he knew he was not

 entitled from Company A to himself for his personal use.

        17.     It was part of the Scheme that WILLS caused ACH transfers of Company A’s

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 funds, to which WILLS knew he was not entitled, from Company A’s First Merchants Operating

 Account to Company A’s First Merchants Payroll Account and then to WILLS’ Personal Bank

 Accounts for WILLS’ personal use. WILLS did so without the knowledge, consent, or

 authorization of Company A.

        18.      For example, on or about September 24, 2021, WILLS transferred $10,360.77

 from Company A’s First Merchants Payroll Account ending in 0262 to WILLS’ personal

 checking account ending in 0246.

        19.      It was further part of the Scheme that WILLS caused the transfer of funds to

 which he was not entitled from Company A’s First Merchants Operating Account to WILLS’

 Personal Credit Card Accounts to pay off his outstanding personal debts. WILLS did so without

 the knowledge, consent, or authorization of Company A.

        20.      For example, on or about May 21, 2021, WILLS transferred $25,115.93 from

 Company A’s First Merchants Operating Account ending in 0238 to WILLS’ Chase Bank credit

 card account ending in 9531.

        21.      It was further part of the Scheme that WILLS caused the transfer of funds from

 Company A to WILLS’ PayPal Account. WILLS did so without the knowledge, consent, or

 authorization of Company A. WILLS used the following means and methods:

              a. WILLS transferred funds from Company A’s First Merchants Operating Account

                 to Company A’s PayPal Account, and then to WILLS’ PayPal Account;

              b. WILLS linked his Company A Citibank Employee Credit Card to Company A’s

                 PayPal Account, incurring charges to his Company A Citibank Employee Credit

                 Card to fund Company A’s PayPal account, and then transferred the funds to

                 WILLS’ PayPal Account;

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              c. WILLS linked a Company A Citibank Employee Credit Card belonging to

                 another Company A employee to Company A’s PayPal Account, incurring

                 charges to that employee’s Company A Citibank Employee Credit Card to fund

                 Company A’s PayPal Account, and then transferred the funds to WILLS’ PayPal

                 Account.

        22.      WILLS used these fraudulently obtained funds from Company A in WILLS’

 PayPal Account for his own personal use, including for online gambling. For example, on or

 about December 14, 2020, WILLS transferred $10,000 from Company A’s First Merchants

 Operating Account ending in 0238 to Company A’s PayPal Account and then to WILLS’ PayPal

 Account. On or about December 17, 2020, WILLS transferred $10,000 from his PayPal

 Account to WILLS’ account with Huntington Bank for WILLS’ personal use.

        23.      It was further part of the Scheme that WILLS misrepresented, concealed, and hid,

 and caused to be misrepresented, concealed, and hidden, the existence of the Scheme, the

 purposes of the Scheme, and acts done in furtherance of the Scheme.

        24.      For example, WILLS made false entries regarding these transactions in RFMS,

 including but not limited to: WILLS recorded in RFMS that transfers of funds were payments of

 invoices, when in fact the transfers of funds were transfers to WILLS. The false entries in

 RFMS had the effect of misstating the balances of several of Company A’s accounts, including

 Company A’s cash on hand, inventory, and cash accounts.

        25.      To further conceal his theft, WILLS took out a draw against Company A’s First

 Merchants Bank line of credit beyond the draw that had been authorized and approved by

 Company A. Specifically, on or about December 16, 2021, WILLS obtained a principal

 advance of $80,000 from Company A’s line of credit. WILLS did so without the knowledge,

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 consent, or authorization of Company A. WILLS transferred these funds to Company A’s

 account in order to meet Company A’s payroll obligations and to pay a vendor.

        26.     WILLS made misrepresentations of material fact to Company A’s Owner

 regarding Company A’s line of credit at First Merchants Bank, including but not limited to,

 stating that he had written and sent checks to First Merchants Bank to pay the outstanding

 balance of the loan, when in fact he had not done so.

        27.     As a result of the Scheme to defraud, WILLS caused the clearing of

 approximately 120 electronic transfers totaling at least $952,237.06. WILLS used the funds

 belonging to Company A for his own personal use, including to fund his gambling activities.


                                            COUNT 1
                                            Wire Fraud
                                         18 U.S.C. § 1343

        28.     Paragraphs 1 to 27 are re-alleged and incorporated herein by reference.

        29.     Beginning in or about August 2020, and continuing until in or about February 2022,

 in Madison County, in the Southern District of Indiana,

                                       NATHANIEL WILLS

 Defendant herein, having devised a Scheme or artifice to defraud and for obtaining money by

 means of false or fraudulent pretenses, representations, or promises, as described in Paragraphs 1

 through 27 above, did, for the purpose of executing such Scheme described above and attempting

 to do so, cause to be transmitted by means of wire communication in interstate commerce the

 signals and sounds described below:




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   On or About Date                         Description of Wire Communication

     May 21, 2021          $25,115.93 from Company A’s First Merchants Operating Account
                           ending in 0238 to WILLS’ Chase Bank credit card account ending in
                           9531


        All of which is in violation of Title 18, United States Code, Section 1343.

                                            FORFEITURE

        30.      The allegations contained in Count 1 of the Information are hereby realleged and

 incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18, United States

 Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

        31.      Upon conviction of the offense in violation of Title 18, United States Code, Section

 1343 set forth in Count 1 of this Information, the defendant, NATHANIEL WILLS, shall forfeit

 to the United States of America, pursuant to Title 18, United States Code, Section 981(a)(1)(C)

 and Title 28, United States Code, Section 2461(c), any property, real or personal, which constitutes

 or is derived from proceeds traceable to the offenses.

        32.      Further, upon conviction, the United States will seek an order of forfeiture in the

 form of a money judgment of $952,237.06, representing the amount of proceeds the defendant

 obtained from wire fraud as charged in Count 1.

        33.      If any of the property described above, as a result of any act or omission of the

 defendant:

              a. cannot be located upon the exercise of due diligence;

              b. has been transferred or sold to, or deposited with, a third party;

              c. has been placed beyond the jurisdiction of the court;

              d. has been substantially diminished in value; or

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             e. has been commingled with other property which cannot be divided without
                 difficulty,

  the United States of America shall be entitled to forfeiture ofsubstitute property pursuant to Title

  21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

  2461(c).

         All pursuant to l8 U.S.C. S 981(aXl XC) and 28 U.S.C. $ 2461(c).




                                                       ZACHARY A. MYERS
                                                       UNITED STATES ATTORNEY


                                                B):
                                                         Meredith Wood
                                                         Tiffany J. Prestbn
                                                         Assistant United States Attomeys
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